    Case 19-32240-ABA           Doc 11      Filed 02/11/20 Entered 02/11/20 15:57:00              Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
       Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                            Order Filed on February 11, 2020
                                                                            by Clerk
       Denise Carlon                                                        U.S. Bankruptcy Court
       KML Law Group, PC                                                    District of New Jersey
       216 Haddon Avenue, Suite 406
       Westmont, NJ 08108
       Specialized Loan Servicing LLC as servicer for          Case No:        19-32240 ABA
       Deutsche bank National Trust Company, as Trustee
       for Morgan Stanley ABS Capital I Inc. Trust 2006-
       NC4                                                     Hearing Date: January 28, 2020 at
                                                               10:00 A.M.
      In Re:
               Saurman, Jeffrey A.                             Judge: Andrew B. Altenburg Jr.




         Recommended Local Form:                           Followed                Modified



                                       ORDER VACATING STAY
    The relief set forth on the following page is hereby ordered ORDERED.




DATED: February 11, 2020
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       Upon the motion of Specialized Loan Servicing LLC as servicer for Deutsche bank National
Trust Company, as Trustee for Morgan Stanley ABS Capital I Inc. Trust 2006-NC4, under
Bankruptcy Code section 362(a) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is


       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the movant’s rights in the following:

              Real Property More Fully Described as:

               Land and premises commonly known as Lot 2.02, Block 61,       103 East Maiden
               Lane, Somerdale NJ 08083


              Personal Property More Fully Describes as:



        It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject mortgage and pursue its state court remedies
including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially
pursuing other loss mitigation alternatives, including, but not limited to, a loan modification,
short sale or deed-in-lieu foreclosure. Additionally, any purchaser of the property at sheriff’s
sale (or purchaser’s assignee) may take any legal action for enforcement of its right to possession
of the property.

       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.


       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.




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